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                              UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF RHODE ISLAND

 ANA FARIA, PHILIPE FARIA, MARTA                 :
 FARIA, and CATARINA TRAVASSOS,                  :
 as successors in interest and heirs at law of   :
 APOLONIA MORAIS, and MARTA                      :
 FARIA, in her capacity as Administratrix        :
 of the Estate of APOLONIA MORAIS,               :
         Plaintiffs,                             :              C.A. No.: 2019-427-MSM-LDA
 vs.                                             :
                                                 :
 CITIZENS BANK, N.A., CITIZENS                   :
 BANK, N.A., d/b/a CITIZENS ONE                  :
 HOME LOANS, and OTORO, LLC                      :
       Defendants.                               :

               DEFENDANT OTORO, LLC’S SECOND MOTION TO
          ADJUDGE PLAINTIFFS IN CONTEMPT AND DISMISS ALL CLAIMS

        Defendant Otoro, LLC (“Otoro”) respectfully requests this Court enter an order: (i)

 adjudging Plaintiffs Ana Faria, Philipe Faria, Marta Faria, Catarina Travassos, as successors in

 interest and heirs at law of Apolonia Morais, and Marta Faria in her capacity as Administratrix of

 the Estate of Apolonia (collectively, “Plaintiffs”), in contempt of this Court’s January 27, 2022

 Text Order directing Plaintiffs “to pay the outstanding [use and occupancy] fees within 30 days

 and to continue to make monthly payments consistent with this Courts August 20, 2021 text order”

 (the “Text Order”); and (ii) requiring Plaintiffs to pay Otoro’s attorneys fees and expenses incurred

 in bringing this Motion. In support thereof, Otoro states as follows:

        The United States Supreme Court has held that a court order must be obeyed, even if it is

 later found to be improper or unconstitutional, until it is vacated or amended pursuant to the proper

 judicial process. Maness v. Meyers, 419 U.S. 449, 458–59 (1975); In re Providence Journal Co., 820

 F.2d 1342, 1346 (1st Cir.1986). It is well established that a court possesses the authority to hold a

 party in contempt for failure to comply with a court’s order. Shillitani v. United States, 384 U.S. 364,
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 370 (1966); Goya Foods, Inc. v. Wallack Mgmt. Co., 290 F.3d 63, 77 (1st Cir.2002). To hold a party

 in civil contempt, the court must find: (1) the contemnor had notice of the court order; (2) the order

 was “clear, definite, and unambiguous”; (3) the contemnor had the ability to comply with the order;

 and (4) the contemnor violated the order. United States v. Saccoccia, 433 F.3d 19, 26 (1st Cir.2005).

         The elements of contempt are easily provable here. There is no question Plaintiffs had notice

 of the Text Order – they are a party to this litigation. The Text Order was distributed to Plaintiffs’

 counsel through the Court’s CM/ECF system. Nor can Plaintiffs argue that the Text Order is not

 “clear and unambiguous” – it clearly stated that Otoro’s accounting of use and occupancy fees

 totaling $10,845.66 was accepted by the Court and directed Plaintiffs to pay the outstanding use and

 occupancy fees within thirty days of the Text Order and to continue to make monthly payments

 consistent with this Court’s August 20, 2021 text order. Plaintiffs have had the ability to pay – the

 original Text Order granting Otoro’s Use and Occupancy Motion was entered over six months ago,

 giving Plaintiffs ample opportunity to commence use and occupancy payments. Further, Plaintiffs

 presumably have the financial ability to make the use and occupancy payments. Plaintiffs have

 occupied 20 Lena Street, East Providence, RI (the “Property”), the subject property in this litigation,

 for over three years without the burden of paying the taxes, insurance, utilities, and other costs

 associated with ownership of the Property. Plaintiffs have not filed bankruptcy and there is no

 evidence they receive government assistance. Finally, upon information and belief, Defendant

 Citizens Bank, N.A. is currently holding approximately $120,000 in proceeds from the foreclosure

 sale of the Property, which funds some or all of the Plaintiffs are entitled to receive.

          Plaintiffs continue to occupy the Property while ignoring the Text Order, without any of

  the burdens that come with ownership of the Property. Since the Text Order issued, Otoro has

  continued to pay all of the expenses of owning the Property and must continue to do so as long



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     as this litigation is pending.1 As a result, dismissal of this litigation with prejudice is the only

     remedy that will prevent the continuing harm Otoro suffers from Plaintiffs’ refusal to comply

     with the Text Order.

            WHEREFORE, Otoro respectfully requests this Court enter an order: (i) holding Plaintiffs

     in contempt of the Text Order; (ii) dismissing this litigation with prejudice; (iii) requiring

     Plaintiffs to pay Otoro’s attorneys fees and expenses incurred in bringing this motion; and (iv)

     granting such other and further relief as this Court deems right and just.


                                                      Respectfully submitted,

                                                      OTORO, LLC
                                                      By its attorneys.

                                                      /s/ James G. Atchison
                                                      James G. Atchison, Esq. (#7682)
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                                        CERTIFICATE OF SERVICE

         I hereby certify that on March 22, 2022, I have caused the within answer to be filed with
 the Court via the ECF document filing system and it is available for viewing and downloading
 from the ECF system. As such, this document will be electronically sent to the registered
 participants as identified on the Notice of Electronic Filing (NEF) and paper copies will be sent to
 those indicated as non-registered participants.

                                                      /s/ James G. Atchison




 1
     The use and occupancy charges for February 2022 are $2,007.13.

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